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                UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                Criminal No. 10-cr-032-01-JD

James Meattey

                               O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.

     Defendant has moved to continue the hearing until after a

psychiatric examination and has consented to temporary detention

until then.

     Accordingly, it is ORDERED that the defendant be detained

pending psychiatric examination by the Bureau of Prisons.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.   The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United
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States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                  ___________________________________
                                  James R. Muirhead
                                  United States Magistrate Judge

Date: April 22, 2010

cc:   John T. Pendleton, Esq.
      Kenneth L. Perkes, AUSA
      U.S. Marshal
      U.S. Probation




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